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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION


 IN RE: NATIONAL PRESCRIPTION                    MDL No. 2804
 OPIATE LITIGATION
                                                 Case No. 1:17-md-2804
 This document relates to:
                                                 Hon. Dan Aaron Polster
 The County of Cuyahoga v. Purdue
 Pharma L.P., et al.,
 Case No. 17-op-45004

 and

 The County of Summit, Ohio, et al. v.
 Purdue Pharma L.P, et al.,
 Case No. 18-op-45090.


                  DECLARATION OF STEPHAN A. CORNELL
          IN SUPPORT OF NON-RICO SMALL DISTRIBUTORS’ MOTION
        FOR SUMMARY JUDGMENT BASED ON THEIR DE MINIMIS STATUS

       Pursuant to 28 U.S.C. § 1746, I, Stephan A. Cornell, declare as follows:

       1.      I am a partner at the law firm of Fox Rothschild LLP and counsel for Defendant

Prescription Supply Inc. in the above-captioned cases.

       2.      I submit this declaration for the purpose of transmitting true and correct copies of

exhibits to the reply in support of the motion for summary judgment of Non-RICO Defendants

Anda, Inc., H. D. Smith, LLC, H. D. Smith Holdings, LLC, H. D. Smith Holding Company,

Henry Schein, Inc., Henry Schein Medical Systems, Inc., and Prescription Supply Inc.

(collectively, the “Small Distributors”) based on their de minimis status.

       3.      Attached as Exhibit 1 is an exhibit submitted pursuant to Federal Rule of

Evidence 1006 relating to Henry Schein, Inc. and derived from the output file (HSI.xlsx)

produced by Plaintiffs’ data analyst, Dr. Craig McCann.
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         4.    Attached as Exhibit 2 is an exhibit submitted pursuant to Federal Rule of

Evidence 1006 derived from Henry Schein, Inc.’s previously produced and voluminous

transaction data (HSI Opioid Sales 1.1.06 to 12.31.18.xlsx and 2019.05.19 – HSI Total

Transactions to Summit county 2006-2018.xlsx).

         5.    Attached as Exhibit 3 is a true and correct copy of the supplemental report of

Robert Maness, expert witness for the Henry Schein entities, dated June 6, 2019.

         6.    Attached as Exhibit 4 is a true and correct copy of the Government’s Sentencing

Memorandum in the case of United States of America v. Adolph Harper, no. 5:14-CR-096 (N.D.

Ohio).

         7.    Attached as Exhibit 5 is a true and correct copy of the Ohio Medical Board

License Lookup for Dr. Brian Heim.

         8.    Attached as Exhibit 6 is a true and correct copy of documents produced by Henry

Schein, Inc. in this action Bates-stamped HSI-MDL-0001198–HSI-MDL-0001210.

         9.    Attached as Exhibit 7 is a true and correct copy of the Information in the case of

United States of America v. Brian Heim, no. 5:14-CR-412 (N.D. Ohio).

         10.   Attached as Exhibit 8 is an exhibit submitted pursuant to Federal Rule of

Evidence 1006 relating to Anda, Inc. and derived from the Supplemental 3 Data Files produced

by Plaintiffs’ data analyst, Dr. Craig McCann.

         11.   I declare under penalty of perjury that the foregoing is true and correct to the best

of my knowledge, information, and belief.

                                     [signature on next page]




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     Executed this 16th day of August 2019.



                                                  /s/ Stephan A. Cornell       .
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